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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 19-20674-CR-GAYLES

   UNITED STATES OF AMERICA,


   vs.

   JOSHUA RYAN JOLES, et al.,

                Defendants.
                                          /

                DEFENDANT’S CORRECTED OBJECTIONS TO
                 PRESENTENCE INVESTIGATION REPORT

         Defendant Joshua Ryan Joles hereby files his Objections to the Presentence

  Investigation Report.

  PART A. THE OFFENSE

         Mr. Joles generally objections to all representations made in the PSR that he

  was somehow involved in what I will refer to as the acquiring, repacking, and

  reselling of diverted pharmaceuticals. While Mr. Joles was aware that he was

  purchasing diverted pharmaceuticals, he never knew what Salemi and the others in

  Miami were doing. He was a buyer in the distribution chain. I have copied and

  pasted the relevant paragraphs from Mr. Joles’ Factual Proffer, which explains his

  role. [D.E. 294].
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        Mr. Joles further notes that he was the CEO and minority shareholder of LLC

  Wholesale.

        The following are specific objections and corrections:

        1.     Paragraph 10 contains a typographical error and should state “Wells

  Fargo Bank in.”

        2.     Mr. Joles objects to Paragraph 19 as it misstates the facts. Mr. Joles did

  in fact eat a CBD gummy. It was not a gummy containing THC. Mr. Joles took the




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  CBD gummy for medicinal reasons. Specifically, Mr. Joles was suffering from great

  pain due to his Bell’s Palsy.

         3.    Mr. Joles objects to Paragraph 21. LLC Wholesale sold a wide variety

  of prescription medicines at various price points and was not limited to sales of

  “expensive prescription drugs.”

         4.    Mr. Joles objects to Paragraph 25 to the extent it implies he was

  involved in the altering of prescription bottle labels. Moreover, Mr. Joles was not

  personally involved in and had no knowledge of the people or places where

  prescription drugs were repackaged and false labels were created.

         5.    Mr. Joles objects to Paragraph 28 to the extent his name is included in

  the first sentence. Mr. Joles did not form or purchase a company to market drugs.

  LLC Wholesale was a long-standing business operating prior to his taking a minority

  interest.

         6.    Mr. Joles objects to the last sentence in Paragraph 30. The sentence

  should be clarified to state that Salemi provided LLC/Joles purchase orders to the

  co-defendants. Joles had no role in instructing the co-defendants.

         7.    Mr. Joles objects to Paragraph 34 as it doesn’t accurately reflect the

  facts. David Ramirez Garcia, Sr. advised Joles and Bill Mulligan that WGI should

  not send medicines with Miami based shipping labels since WGI was based in

  Redmond, WA. As a result, new operating procedures were put in place that


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  products could only be accepted when shipped from the same state as the license

  holder’s location.

        8.     Mr. Joles objects to Paragraph 40 to the extent it implies that Mr. Joles

  was involved in the cleaning and repacking of drugs.

        9.     Mr. Joles objects to Paragraph 43 and requests that it be clarified to

  state that Salemi initiated the communications regarding false pedigrees in 2018.

        10.    Mr. Joles objects to Paragraph 45 to the extent it states that he

  maintained control of the warehouse in that capacity. Mr. Joles was not in charge of

  the warehouse.

        11.    Mr. Joles objects to Paragraph 54. This paragraph should reflect that

  LLC Wholesale also sold legitimate drugs.

        12.    Mr. Joles objects to Paragraph 55. Specifically, one sentence reads,

  “Joles often demanded that pedigrees be altered to match what he received.” It

  should read Joles communicated to Salemi that he could only accept bottles of

  medicine if the bottles received matched the paperwork in terms of number, serial

  numbers, and lot numbers.

        13.    Mr. Joles objects to Paragraph 65.        Purchase orders from LLC

  Wholesale were sent to Salemi by email.

        14.    Mr. Joles objects to Paragraph 71 to the extent it implies Joles was

  involved in creating straw accounts.


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        15.    Mr. Joles objects to Paragraph 77. Specifically, the second to the last

  sentence states that JJoles Enterprises conducted no legitimate business. JJoles

  Enterprises was a consulting company.

        16.    Mr. Joles objects to Paragraph 86 to the extent it refers to Joles as the

  general manager.

  OFFENSE LEVEL COMPUTATION

        Generally, Mr. Joles’ plea agreement and factual proffer provide the

  foundation for the sentencing calculation in this case. Mr. Joles objects to any

  calculation that differs from what is provided for in the plea agreement. Moreover,

  the proper calculation of the guidelines can be one of two calculations. Pursuant to

  2B1.1(b)(1) the base level offense is 6, plus 24 levels for the loss amount, and 4

  levels pursuant to 2B1.1(b)(8)(B) for supply chain. Alternatively, under 2S1.1 (a)(2)

  the base level offense is 8, plus 24 levels for the loss amount, and 2 levels for a

  conviction under money laundering under 2S.1.1(b)(2)(B). Under either calculation,

  the adjusted offense level is 34. From this adjusted offense level, there should be an

  additional 3 level deduction for acceptance of responsibility. As such, the Total

  Offense Level is 31. Any other calculation results in double counting.

        17.    Mr. Joles objects to Paragraphs 118-120 and the base offense level

  calculation contained therein. Mr. Joles refers to the above calculation as the correct

  calculation. Further, Mr. Joles objects to the sophisticated means enhancement


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  contained in Paragraph 120 and repeated in Paragraph 122. Mr. Joles’ objections is

  twofold. First, the enhancement should not apply. Second, the enhancement should

  not be counted twice. Mr. Joles provides a detailed objection to sophisticated means

  enhancement below.

           18.   Mr. Joles objects to Paragraph 121 as the calculation is inconsistent

  with the proper calculation of the guidelines and refers to the general objection made

  supra.

           19.   Mr. Joles objects to Paragraph 122. As noted in Section 18, the PSR

  repeats the sophisticated means enhancement twice. Additionally, Mr. Joles, joined

  by the government, objects to attributing to the defendant either sophisticated means

  or sophisticated laundering enhancements on the facts of the defendant’s case and

  consistent with the resolution of those issues in other sentencings in this case. The

  fraud and related conduct attributed to Joles, while it occurred over several years

  was repetitive, does not meet the required level for guideline enhancement for

  sophistication; the enhancements were found similarly inapplicable to the other

  defendants involved in the money laundering conspiracy in this case and should not

  be applied here. The same conclusion of no-applicable sophistication enhancement

  was made as to the other defendants in this case, with the government similarly

  agreeing that no sophisticated means or laundering enhancements were warranted in

  this case.


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        20.     Mr. Joles objects to Paragraph 40, the Adjusted Offense Level should

  be 34 as discussed above in the general objection.

        21.     Mr. Joles objects to Paragraph 130, the Total Offense Level should be

  31 as discussed above in the general objection.

  PART C. OFFENDER CHARACTERISTICS

        22.     Mr. Joles requests that Paragraph 137 be clarified.          Mr. Joles’

  girlfriend’s name should be spelled Kristin.

        23.     Mr. Joles requests that Paragraph 140 be clarified to read that he moved

  residences because he was playing on different Hockey teams.

        24.     Mr. Joles objects to paragraph 151. As previously noted, he ingested

  something containing CBD and not THC. The product did not contain intoxicating

  properties.

        25.     As to paragraph 156, Mr. Joles notes that he is not aware of any Florida

  license under his name. The license could belong to another Josh Joles.

        26.     Mr. Joles requests that Paragraph 166 be clarified to reflect his time as

  a salesman at LLC Wholesale between 2009 to 2013.

        27.     Mr. Joles objects to Paragraph 23 to the extent it lists a WellsFargo

  account. That account has been closed for some time.

        28.     Mr. Joles objects to Paragraph 174. Mr. Joles only holds one credit

  card at this time.


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          29.   Mr. Joles objects to Paragraph 175. Mr. Joles’ car payments should be

  included. He has two car payments: (1) $1945.51 and (2) $2562.50.



                                                Respectfully submitted,

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                                                By: /s/ Marissel Descalzo
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                            CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was filed with

  the Court, served on Probation, and on all counsel of record this 17th day of July,

  2021.


                                                  By: /s/ Marissel Descalzo
                                                         Marissel Descalzo, Esq.




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